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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

                                           )
UNITED STATES SECURITIES                   )
AND EXCHANGE COMMISSION,                   )
                                           )
                    Plaintiff,             )      Civil Action No. 18-cv-5587
                                           )
       v.                                  )      Hon. John Z. Lee
                                           )
EQUITYBUILD, INC.,                         )      Magistrate Judge Young B. Kim
EQUITYBUILD FINANCE, LLC,                  )
JEROME H. COHEN, and SHAUN                 )
D. COHEN,                                  )
                                           )
                    Defendants.            )



                            JOINT STATUS REPORT

      The undersigned counsel for the Receiver, for certain of the Institutional

Lenders, for certain of the Investor Lenders, and for the SEC submit the following

joint status report to the Court concerning the availability of the EquityBuild

documents.

      The claims process for the first group of claimants currently is scheduled to

begin on July 6, 2021. The project of creating the database and then providing access

to the EquityBuild documents is on track for completion by July 1, 2021. Therefore,

the undersigned anticipate that the EquityBuild documents will be available to all

parties as of the commencement of the claims process

      On or about June 24, 2021 (or at least seven days prior to the date the database

will be available), the Receiver will email all claimants notifying them that the
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database will be available between July 1, 2021 and December 31, 2021, and

providing contact information for the database vendor, who will make arrangements

with any claimants desiring to pay to access to the database.

      There are two options available to claimants:

      a.     For a one-time fee of $100, any individual claimant may obtain log-in

credentials to access the documents in the electronic database for any portion of the

six-month period still remaining, conduct searches of the documents for words or

phrases contained in the documents, and select documents to download and retain

for the pendency of this matter, to use only for purposes authorized by the Agreed

Confidentiality Order.

      b.     For a one-time fee of $300, plus an additional $400 monthly fee, a

claimant or a claimant’s counsel may opt to enter into a service agreement with the

vendor, CloudNine, in order to obtain their own database with all of the capabilities

offered    by    the     proprietary     CloudNine    Review™       platform     (see

https://cloudnine.com/software/cloudnine-review/) for any number of months within

the six-month period.    Before the database is disabled on December 31, 2021,

claimants selecting this option will also need to download and retain any documents

they wish to use in this matter after that date.

      Whichever option is chosen, the vendor will require payment of the flat fee or

a deposit, and a signed “Acknowledgement and Agreement to Be Bound” by the

Agreed Confidentiality Order (Dkt. 917), in order to provide the claimant with

credentials to access the database.



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      On July 6, 2021, the Receiver will file the Framing Report described in the

Court’s Order Regarding Claims Resolution Process No. 2 (Dkt. 941).



Dated: June 18, 2021                            Respectfully submitted,
/s/ Michael Rachlis                   .       /s/ Benjamin J. Hanauer                  .
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Attorneys for Kevin B. Duff, Receiver

s/ Ronald Damashek                    .       /s/ Michael Gilman                         .
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Counsel for Citibank N.A., as Trustee         Counsel for Federal Home Loan Mortgage
for the Registered Holders of Wells           Corporation Wilmington Trust, National
Fargo Commercial Mortgage Securities,         Association, as Trustee for the Registered
Inc., Multifamily Mortgage Pass-              Holders of Wells Fargo Commercial
Through Certificates, Series 2018-SB14;       Mortgage Trust 2014-LC16, Commercial
Midland Loan Services, a Division of          Mortgage Pass-Through Certificates, Series
PNC Bank, National Association;               2014-LC16; Wilmington Trust, National
Thorofare Asset Based Lending REIT            Association, as Trustee for the Registered
Fund IV, LLC; and Liberty EBCP, LLC           Holders of UBS Commercial Mortgage Trust
                                              2017-C1,Commercial Mortgage Pass-
                                              Through Certificates, Series 2017-C1;
/s/ Max A. Stein                              Citibank N.A., as Trustee for the Registered
Max A. Stein (ARDC # 6275993)                 Holders of Wells Fargo Commercial
Lauren E. Dreifus (ARDC # 6317983)            Mortgage Securities, Inc., Multifamily
Boodell & Domanskis, LLC                      Mortgage Pass-Through Certificates, Series
One North Franklin, Suite 1200                2018-SB48; Federal National Mortgage
Chicago, IL 60606                             Association; U.S. Bank National
mstein@boodlaw.com                            Association, as Trustee for the registered
ldreifus@boodlaw.com                          Holders of J.P. Morgan Chase Commercial

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Counsel for Bill Akins, Paul Applefield,       Mortgage Securities Corp., Multifamily
Manuel Cadaval, Dana Cadaval, Jacob            Mortgage Pass-Through Certificates, Series
Cadaval, Joshua Lapin, Cadaval                 2017-SB41;U.S. Bank National Association,
Investment Trust, Karl Deklotz, Deklotz        as Trustee for the registered Holders of J.P.
Investment Properties, Pat Desantis,           Morgan Chase Commercial Mortgage
Julie Farr-Barksdale, Joel Feingold,           Securities Corp., Multifamily Mortgage
Francisco Fernandez, Patricia E Gomes,         Pass-Through Certificates, Series 2018-
RAVIN3, LLC, Longwood 11117, LLC,              SB50;U.S. Bank National Association, as
Roj Gupta, Amit Hammer, Conrad                 Trustee for the registered Holders of J.P.
Hanns, Robert Jennings, Cynthia                Morgan Chase Commercial Mortgage
Jennings, Asbury R. Lockett, Richard           Securities Corp., Multifamily Mortgage
Lohrman, Mary Lohrman, Don                     Pass-Through Certificates, Series 2017-
Minchow, Russ Moreland, Lori                   SB30 Sabal TL1 LLC; Midland Loan
Moreland, Alan Schankman, Vicki                Services, a Division of PNC Bank, N.A. as
Schankman, Knickerbocker                       servicer for Wilmington Trust, N.A., as
Investments, Coleman Scheuller,                Trustee for the Benefit of Corevest American
Harvey Singer, Aryeh (Judah) Smith,            Finance 2017-1 Trust Mortgage Pass-
Brook Swientisky, Sarah Swientisky,            Through Certificates; Midland Loan
J&S Investment LLC, Kathy Bischoff             Services, a Division of PNC Bank, N.A. as
Talman, Kristien Van Hecke, Dwight             servicer for Wilmington Trust, N.A., as
Plymale, DK Phenix Investments LLC,            Trustee for the Registered Holders of
Norman (Bud) Wheeler, Melinda                  Corevest American Finance 2017-2 Trust,
Mayne, Liberty Quest Investment Group          Mortgage Pass-Through Certificates, Series
LLC                                            2017¬2; BC57, LLC; UBS AG




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                            CERTIFICATE OF SERVICE

        I hereby certify that on June 18, 2021, I electronically filed the foregoing Joint

Status Report with the Clerk of the United States District Court for the Northern

District of Illinois, using the CM/ECF system. A copy of the foregoing was served upon

counsel of record via the CM/ECF system.


        I further certify that I caused true and correct copy of the foregoing Joint

Status Report to be served upon the following individuals or entities by electronic

mail:


        -     All known EquityBuild investors; and


        -     All known individuals or entities that submitted a proof of claim in this

              action (sent to the e-mail address each claimant provided on the claim

              form).


        I further certify that the Joint Status Report will be posted to the

Receivership webpage at: http://rdaplaw.net/receivership-for-equitybuild




                                                 /s/ Michael Rachlis
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